                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )

              V.                            ~   Criminal Action No. 19-   /)? - VNA-
                                            )                             .

NATHAN MATTHEWS,                            )

                      Defendant.
                                            i
                                        INDICTlVIENT
                                                       ~g@&©U~@
       The Grand Jury for the District of Delaware charges that:

                                        COUNT ONE

       On or about September 26, 2019, in the District of Delaware, the defendant, NATHAN

MATTHEWS, knowing he had previously been convicted in the Superior Court of the State of

Delaware of a crime punishable by imprisonment for a term exceeding one year, did knowingly

possess in and affecting interstate commerce ammunition, that is, thirty-two (32) rounds of 9 mm

ammunition.

       In violation of 18 U.S.C. §§ 922(g)(l) & 924(a)(2).




                                                                               DEC - .3 2019




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                     NOTICE OF FORFEITURE FOR COUNT ONE

       Upon conviction of the offense alleged in Count One of this Indictment, the defendant,

NATHAN MATTHEWS, shall forfeit to the United States pursuant to 18 U.S.C. § 924(d) and 28

U.S.C. § 2461(c), all firearms and ammunition involved in the commission of the offense,

including, but not limited to: thirty-two (32) rounds of 9 mm ammunition.




                                                   A TRUE BILL:




                                                   Foreperson




DAVID C. WEISS
UNITED STATES ATTORNEY


By:

       Maureen McCartne ·
       Assistant United States Attorneys




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